Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 1 of 31             PageID #: 165




                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MAINE

THOMAS DAGGETT,

             Plaintiff,

      vs.

YORK COUNTY, WILLIAM KING,                             Civil No. 18-00303-JAW
MICHAEL VITIELLO, JOHN DOE 1, JOHN
DOE 2, JOHN DOE 3, CORRECT CARE
SOLUTIONS, LLC, JANE DOE 1, JANE DOE
2, TOWN OF BERWICK, TIMOTHY
TOWNE, OFFICER ELI POORE,

             Defendants



     ANSWER, AFFIRMATIVE DEFENSES AND JURY TRIAL DEMAND
     (DEFENDANTS YORK COUNTY, WILLIAM KING AND MICHAEL
                          VITIELLO)

      Defendants York County, William King and Michael Vitiello, by and through

counsel, hereby respond to the Plaintiff’s Amended Complaint as follows:

                                   JURISDICTION

      1.     The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

      2.     The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 2 of 31                 PageID #: 166




the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

       3.     The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

       4.     The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

                                          VENUE

       5.     The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

                                         PARTIES

       6.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 2 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 3 of 31                 PageID #: 167




       7.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       8.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       9.     The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       10.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       11.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       12.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       13.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 3 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 4 of 31                 PageID #: 168




       14.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       15.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       16.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       17.    The Defendants admit that William L. King, Jr. is Sheriff of York County.

The Defendants are without sufficient information or knowledge to form a belief as to

the truth of the remaining allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

       18.    The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

       19.    The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.




                                          Page 4 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 5 of 31              PageID #: 169




      20.    The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

      21.    The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

      22.    The Defendants admit that York County is a Maine county and that it is a

member of the Maine County Commissioners’ Association Self-Funded Risk Pool. The

remaining allegations contained in this paragraph of the Plaintiff’s Amended Complaint

constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the

truth of the remaining allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

      23.    The Defendants admit that the York County Jail is a corrections facility

located in York County, Maine. The remaining allegations contained in this paragraph of

the Plaintiff’s Amended Complaint constitute assertions of law to which no response is

required. Alternatively, the Defendants are without sufficient information or knowledge

to form a belief as to the truth of the remaining allegations contained in this paragraph

of Plaintiff’s Amended Complaint and, accordingly, deny same.




                                        Page 5 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 6 of 31             PageID #: 170




        24.   The Defendants admit that Michael Vitiello works at the York County Jail

and holds the position of Jail Superintendent. The remaining allegations contained in

this paragraph of the Plaintiff’s Amended Complaint constitute assertions of law to

which no response is required. Alternatively, the Defendants are without sufficient

information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiff’s Amended Complaint and, accordingly, deny

same.

        25.   The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

        26.   The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

        27.   The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.




                                        Page 6 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 7 of 31                 PageID #: 171




       28.    The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

       29.    The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

       30.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       31.    The Defendants admit the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       32.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       33.    The Defendants admit the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       34.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 7 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 8 of 31                 PageID #: 172




       35.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       36.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       37.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       38.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       39.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

                                STATEMENT OF FACTS

       40.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       41.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 8 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 9 of 31                 PageID #: 173




       42.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       43.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       44.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       45.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       46.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       47.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       48.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 9 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 10 of 31                 PageID #: 174




       49.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       50.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       51.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       52.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       53.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       54.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       55.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 10 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 11 of 31                 PageID #: 175




       56.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       57.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       58.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       59.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       60.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       61.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       62.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 11 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 12 of 31                 PageID #: 176




       63.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       64.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       65.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       66.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       67.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       68.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       69.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 12 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 13 of 31                 PageID #: 177




       70.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       71.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       72.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       73.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       74.    The Defendants admit that, in consultation with the Jail medical provider,

the Jail declined to accept the Plaintiff unless the medication he required could be

supplied. The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Amended Complaint and, accordingly, deny same.

       75.    The Defendants admit that, in consultation with the Jail medical provider,

the Jail declined to accept the Plaintiff unless the medication he required could be

supplied. The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Amended Complaint and, accordingly, deny same.




                                          Page 13 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 14 of 31                 PageID #: 178




       76.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       77.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       78.    The Defendants admit that the Plaintiff was admitted to the York County

Jail with medications. The Defendants are without sufficient information or knowledge

to form a belief as to the truth of the remaining allegations contained in this paragraph

of Plaintiff’s Amended Complaint and, accordingly, deny same.

       79.    The Defendants admit the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       80.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       81.    The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

       82.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.




                                          Page 14 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 15 of 31                 PageID #: 179




       83.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       84.    The Defendants deny any failure to medicate. The Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in this paragraph of Plaintiff’s Amended Complaint and,

accordingly, deny same.

       85.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       86.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       87.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       88.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       89.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       90.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.




                                          Page 15 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 16 of 31                 PageID #: 180




       91.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

       92.    The Defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations contained in this paragraph of Plaintiff’s

Amended Complaint and, accordingly, deny same.

                                         COUNT I

                            VIOLATION OF 42 USC § 1985

       93.    The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

       94.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       95.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

       96.    The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

                                         COUNT II

          VIOLATION OF 42 USC § 1983 – DEFENDANT JOHN DOE 3

       97.    The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

       98.    As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is




                                          Page 16 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 17 of 31             PageID #: 181




required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      99.    As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      100.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      101.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      102.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

                                      COUNT III

      VIOLATION OF 42 USC § 1983 – DEFENDANTS JOHN DOE 1 AND

                                     JOHN DOE 2

      103.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.




                                        Page 17 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 18 of 31             PageID #: 182




      104.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      105.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      106.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      107.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      108.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.




                                        Page 18 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 19 of 31             PageID #: 183




                                      COUNT IV

       VIOLATION OF 42 USC § 1983 – DEFENDANT CORRECT CARE

                                  SOLUTIONS, LLC

      109.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

      110.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      111.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      112.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      113.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      114.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is




                                        Page 19 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 20 of 31             PageID #: 184




required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      115.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      116.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

                                       COUNT V

      VIOLATION OF 42 USC § 1983 – DEFENDANTS JANE DOE 1 AND

                                     JANE DOE 2

      117.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

      118.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      119.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.




                                        Page 20 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 21 of 31             PageID #: 185




      120.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      121.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      122.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      123.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      124.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.




                                        Page 21 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 22 of 31             PageID #: 186




                                      COUNT VI

       VIOLATION OF 42 USC § 1983 – DEFENDANT WILLIAM KING

      125.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

      126.   The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

      127.   The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

      128.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

      129.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

                                      COUNT VII

        VIOLATION OF 42 USC § 1983 – DEFENDANT YORK COUNTY

      130.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.




                                        Page 22 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 23 of 31             PageID #: 187




      131.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

      132.   The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

      133.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

      134.   The allegations contained in this paragraph of the Plaintiff’s Amended

Complaint constitute assertions of law to which no response is required. Alternatively,

the Defendants are without sufficient information or knowledge to form a belief as to

the truth of the allegations contained in this paragraph of Plaintiff’s Amended

Complaint and, accordingly, deny same.

      135.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

      136.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

      137.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.




                                        Page 23 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 24 of 31          PageID #: 188




                                    COUNT VIII

        VIOLATION OF MAINE CIVIL RIGHTS ACT 5 M.R.S.A. § 4682

      138.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

      139.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

      140.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

                                     COUNT IX

                                 CIVIL CONSPIRACY

      141.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

      142.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

      143.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

      144.   The Defendants deny the allegations contained in this paragraph of

Plaintiff’s Amended Complaint.

                                     COUNT X

   VIOLATION OF 42 USC § 1983 – DEFENDANT POORE FALSE ARREST

      145.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.




                                      Page 24 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 25 of 31             PageID #: 189




      146.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      147.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      148.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      149.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

                                      COUNT XI

     VIOLATION OF 42 USC § 1983 – DEFENDANT POORE FAILURE TO

                                       PROTECT

      150.   The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

      151.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is




                                        Page 25 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 26 of 31             PageID #: 190




required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      152.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      153.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      154.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      155.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      156.   As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.




                                        Page 26 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 27 of 31             PageID #: 191




                                      COUNT XII

  VIOLATION OF 42 USC § 1983 – DEFENDANT TOWN OF BERWICK AND

             DEFENDANT TOWNE FAILURE TO TRAIN/SUPERVISE

      157.    The Defendants hereby repeat and incorporate by reference their

responses to the preceding paragraphs of the Plaintiff’s Amended Complaint.

      158.    As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      159.    As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      160.    As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.

      161.    As the allegations in this paragraph of Plaintiff’s Amended Complaint do

not pertain to these Defendants, no response is required. To the extent a response is

required, the Defendants deny the allegations contained in this paragraph of Plaintiff’s

Amended Complaint.




                                        Page 27 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 28 of 31               PageID #: 192




                              AFFIRMATIVE DEFENSES

       1.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the Defendants reserve the right to demonstrate that the claim is barred by

Plaintiff’s failure to comply with the notice provisions of the Maine Tort Claims Act, 14

M.R.S. § 8107.

       2.     To the extent that the Plaintiff endeavors to make a state claim grounded

in tort, the claim is barred by the immunity provisions provided to the Defendants by

the Maine Tort Claims Act, 14 M.R.S. §§ 8103, 8104-B and 8111.

       3.     To the extent that the Plaintiff’s Amended Complaint seeks to impose

liability on the Defendants in a representative capacity, the Complaint fails to state a

claim upon which relief may be granted.

       4.     The Defendants reserve the right to demonstrate that the Plaintiff’s own

conduct was the sole or a contributing cause of any injuries the Plaintiff sustained.

       5.     The Plaintiff’s claims are barred or reduced based on comparative fault.

       6.     The Plaintiff’s Amended Complaint, in whole or in part, fails to state a

claim upon which relief may be granted. M.R.Civ.P. 12(b)(6).

       7.     The Plaintiff’s claims are barred for the reason that the Defendants are not

liable under a theory of respondeat superior for the actions of agents or employees.

       8.     The Defendants reserve the right to demonstrate that the Plaintiff’s claims

are barred, in whole or in part, by the applicable statutes of limitations.

       9.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

immunity.




                                         Page 28 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 29 of 31                PageID #: 193




       10.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

qualified immunity.

       11.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

discretionary function immunity.

       12.     The Plaintiff’s claims are barred, in whole or in part, by the doctrine of

privilege.

       13.     The Defendants reserve the right to demonstrate that the Plaintiff has

failed to mitigate his damages.

       14.     To the extent the Plaintiff’s alleged injuries result from conditions that

pre-existed the events alleged in the Complaint, the Defendants cannot be held liable for

the alleged damages associated with those alleged injuries.

       15.     The Plaintiff’s Amended Complaint, in whole or in part, fails to state

justiciable claims.

       16.     The Plaintiff’s claims are subject to the damage caps set forth in the Maine

Tort Claims Act.

       17.     The Defendants have at all times acted in good faith and without

knowledge that their conduct violated any clearly established constitutional or statutory

rights of the Plaintiff.

       18.     The Defendants’ conduct did not violate any clearly established

constitutional or statutory rights of the Plaintiff.

       19.     No reasonable person would have known that the Defendants’ conduct

violated any clearly established constitutional or statutory rights of the Plaintiff.




                                          Page 29 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 30 of 31                  PageID #: 194




       20.      The Plaintiff’s claims are barred for the reason that the Defendants’

actions do not constitute deliberate indifference or conduct which is shocking to the

conscience.

       21.      The Plaintiff’s claims are barred for the reason that the allegations in the

Complaint allege simple negligence and the conduct complained of is not the type

contemplated under 42 U.S.C. § 1983.

       22.      To the extent the Plaintiff asserts claims against York County pursuant to

42 U.S.C. § 1983, the claims fail as a matter of law because there was no policy or

custom that was the moving force behind the alleged violations.

       23.      To the extent that the Plaintiff seeks injunctive or declaratory relief, the

Plaintiff has no standing.

       24.      The Plaintiff has adequate remedies under State law, and therefore no

action lies under 42 U.S.C. §1983 in the Maine Constitution or the United States

Constitution.

       25.      The Defendants reserve the right to demonstrate that the Plaintiff’s claims

are barred by provisions of the Prison Litigation Reform Act, including but not limited

to 42 U.S.C. § 1997e(a) and/or 42 U.S.C. § 1997e(e).

                                      JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the

Defendants request a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendants York County, William King and Michael Vitiello

demand judgment in their favor with regard to all Counts of the Plaintiff’s Amended




                                           Page 30 of 31
Case 2:18-cv-00303-JAW Document 15 Filed 10/05/18 Page 31 of 31            PageID #: 195




Complaint, including an award of costs and attorneys’ fees, if appropriate, and such

other relief as the Court deems just.

       Dated at Portland, Maine this 5th day of October, 2018.

                                   Attorneys for Defendants York County, William King
                                   and Michael Vitiello
                                   MONAGHAN LEAHY, LLP
                                   95 Exchange Street, P.O. Box 7046
                                   Portland, ME 04112-7046
                                   (207) 774-3906
                            BY:    /s/ John J. Wall, III
                                   John J. Wall, III

                             CERTIFICATE OF SERVICE

       I hereby certify that on October 5, 2018, I electronically filed Answer and
Affirmative Defenses and Jury Trial Demand (Defendants York County,
William King and Michael Vitiello) using the CM/ECF system, which will provide
notice to me and to all other counsel of record.

       Dated at Portland, Maine this 5th day of October, 2018.

                                   Attorneys for Defendants York County, William King
                                   and Michael Vitiello
                                   MONAGHAN LEAHY, LLP
                                   95 Exchange Street, P.O. Box 7046
                                   Portland, ME 04112-7046
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                            BY:    /s/ John J. Wall, III
                                   John J. Wall, III




                                        Page 31 of 31
